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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

BARBARA ABERSOLD,                            §
                                             §
       Plaintiff,                            §
                                             §
vs.                                          § Civil Case No.: 4:15-cv-721
                                             §
GC SERVICES, LP,                             §
                                             §
       Defendant.                            §
                                             §

                                 VERIFIED COMPLAINT

       BARBARA ABERSOLD, Plaintiff, through his attorneys, KROHN & MOSS, LTD.,

alleges the following against GC SERVICES, LP, Defendant:

                                     INTRODUCTION

1.    Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

         U.S.C. 1692 et seq. (FDCPA).

                              JURISDICTION AND VENUE

2.     Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”

3.     Because Defendant conducts business in the state of Texas, personal jurisdiction is

       established.

4.     Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                         PARTIES
                                                                                              1
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5.     Plaintiff is a natural person residing in Boise, Idaho and is allegedly obligated to pay a

       debt and is a “consumer” as that term is defined by 15 U.S.C. 1692a(3).

6.     Pursuant to the definitions outlined in 15 U.S.C. 1692a(1-6),Defendant is a debt

       collector and sought to collect a consumer debt from Plaintiff which was allegedly due

       and owing from Plaintiff, and Plaintiff is a consumer debtor.

7.     Defendant is debt collection company located in Houston, Texas.

8.     Defendant uses instrumentalities of interstate commerce or the mails in any business the

       principal purpose of which is the collection of any debts, or who regularly collects or

       attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or

       due another and is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6).

9.     Defendant acted through its agents, employees, officers, members, directors, heirs,

       successors, assigns, principals, trustees, sureties, subrogees, representatives, and

       insurers.

                                     FACTUAL ALLEGATIONS

10.    Defendant places collection telephone calls to Plaintiff in an attempt to collect an alleged

       debt.

11.    Plaintiff’s alleged debt arises from transactions for personal, household, and/or family

       purposes.

12.    Defendant places collection calls to Plaintiff at 208-761-3284.

13.    In or around January of 2014, Defendant placed a collection call to Plaintiff and left a

       voicemail message.

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14.    In the voicemail message, Defendant’s representative, “Marsha,” failed to disclose the

       name of the company placing the call, failed to state that the call was being placed by a

       debt collector, and failed to state that the call was being placed to collect an alleged debt.

       See Transcribed Voicemail Message attached hereto as Exhibit “A.”

15.    In the voicemail message, Defendant’s representative, “Marsha,” directed Plaintiff to

       return the call to 866-391-0768 extension 5067, which is a number that belongs to

       Defendant. See Exhibit “A.”

16.    Defendant is using false, deceptive and misleading means in connection with attempting

       to collect a debt by not identifying the purpose of its phone calls or that they are an

       attempt to collect a debt.

                                 COUNT I
        DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT


17.    Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692d(6) of the FDCPA by placing collection calls to

              Plaintiff without meaningful disclosure of the caller’s identity.

          b. Defendant violated § 1692e of the FDCPA by using false, deceptive or

              misleading representations or means in connection with the collection of the

              debt;

          c. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

              communications with Plaintiff that the communication was from a debt collector.

       WHEREFORE, Plaintiff, BARBARA ABERSOLD, respectfully requests judgment be

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entered against Defendant, GC SERVICES, LP, for the following:

18.    Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. 1692k.

19.    Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

       15 U.S.C. 1692k

20.    Any other relief that this Honorable Court deems appropriate.




DATED: March 18, 2015               RESPECTFULLY SUBMITTED

                                    By: /s/ Ryan S. Lee_______________
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